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                                        UNITED STATES DISTRICT COURT
1
                                                DISTRICT OF NEVADA
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         UNITED STATES OF AMIERCA,
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                              Plaintiff,                           Case No. 2:14–cr–103–GMN–VCF
6        vs.
                                                                   REPORT & RECOMMMENDATION
7        HECTOR FERNANDO ZAMBRANA-REYES,
                                                                   MOTION TO SEVER (#179)
8                             Defendant.
9

10             Mr. Hector Fernando Zambrana-Reyes moves to sever his trial from his co-defendants’ trial

11   because, he asserts, the charges that his co-defendants face have “absolutely nothing to do with” the
12   charges against Mr. Zambrana-Reyes. (Doc. #179 at 8:3). If Mr. Zambrana-Reyes is tried alongside his
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     co-defendants, he contends that he will be found “guilt[y] by association.” (Id. at 5:20).
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               The government obtained seven stipulations to extend the time to oppose Mr. Zambrana-Reyes’
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     motion. An opposition was due on August 24, 2015. See (Doc. #228). On September 8, 2015, the court
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     held a hearing on the motion and the government indicated that it did not intent to oppose the motion. To
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     date, the motion stands unopposed. 1 Therefore, the court recommends granting Mr. Zambrana-Reyes’
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     motion to sever his trial from his co-defendant’s trial.
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               ACCORDINGLY, and for good cause shown,
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24     “The failure of an opposing party to file points and authorities in response to any motion shall constitute a consent
     to the granting of the motion.” LR 7-2(d); see also Fed. R. Crim. P. 57 (permitting the court to “regulate practice in
25   any manner consistent with . . . the local rules of the district”).

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       IT IS RECOMMENDED that Mr. Zambrana-Reyes’ Motion to Sever (#179) be GRANTED.
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       IT IS SO RECOMMENDED.
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       DATED this 15th day of September, 2015.

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                                                     CAM FERENBACH
6                                                    UNITED STATES MAGISTRATE JUDGE
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